                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI

GUADALUPE ADAMS, Individually,                      :
                                                    :
               Plaintiff,                           :
                                                    :
v.                                                  :   Case No. 6:15-cv-3266
                                                    :
KENCO, Inc.                                         :
A Domestic Company                                  :
            Defendant                               :



                              JOINT STIPULATION OF
                    FULL AND FINAL DISMISSAL WITH PREJUDICE

              Plaintiff, Guadalupe Adams (“Plaintiff”) and Defendant, KENCO, Inc.

(“Defendant”), by and through their undersigned counsel, pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), stipulate to the voluntary dismissal with prejudice of the above

captioned matter.

1. All of Plaintiff’s claims in this Lawsuit are hereby dismissed with prejudice.

2. Each party shall bear its own attorneys’ fees, expert fees, litigation expenses and

costs incurred in litigating these claims except as otherwise agreed to in writing among the

parties.

 Dated: December 28, 2015
                                                   /s/ Kristie S. Crawford
 /s/ Pete M. Monismith
 Pete M. Monismith, Esq                            Kristie S. Crawford, #52039
 3945 Forbes Ave., #175                            BROWN & JAMES, P.C.
 Pittsburgh, PA 15213                              300 John Q. Hammons Parkway,
 724-610-1881                                      Suite 603
 pete@monismithlaw.com                             Springfield, MO 65806
 PA-84746                                          417-831-1412 telephone
                                                   417-831-6062 facsimile
 Attorney for Plaintiff                            kcrawford@bjpc.com
                                                   Attorneys for Defendant



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